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                                     STATE OF MICHIGAN

                    IN THE CIRCUIT COURT FOR THE COUNTY OF KENT


DANIEL EMPSON,
       Plaintiff,
                                                      Case No. 17 - 00;03           - NI
v.
                                                      HonIPAUL J. SULLIVAN
JOSHUA JAMES KUIPER,                                              (P-24139)
       Defendant.



 BRIAN A. MOLDE(P63790)
 VEN R. JOHNSON(P39219)
 JOHNSON LAW,PLC
 Attorneys for Plaintiffs
 99 Monroe Avenue, N.W., Suite 975
 Grand Rapids, MI 49503
 616-235-9400


                      EX PARTE ORDER TO PRESERVE EVIDENCE


                At a session of said Court held in the county courthouse, City of
                         Kent, County of Kent, State of Michigan, this

                                 hday of
                                 t                           ,2017


       Upon reading and filing the foregoing Petition, the Court being otherwise fully advised in

the premises;


        IT IS HEREBY ORDERED AND ADJUDGED,that whomever is in possession and/or

control of the evidence described below relating to a November 19, 2016 automobile collision

shall not move or alter these vehicles or recordings or any of their pieces, parts and components

without further order ofthe Court:
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       1.     2014    Toyota    Tacoma     pickup   truck,   license   plate   BMC8215, VIN:

3TMMU4FN6EM064497; and


       2.     2005 Chrysler PT Cruiser, license plate CHW4660, VIN: 3C8FY58B65T639403


       3.     Police dashboard video and audio recording of any and all officers who responded

to the scene of the accident described above;


       4.     Police body camera video and audio recording of any and all officers who

responded to the scene of the accident described above;


       The items and vehicles described above are critical pieces of evidence involved in the

November 19, 2016 accident on Union Ave near its intersection with Avalon Terrace in Grand

Rapids, Michigan and therefore must be preserved consistent with this Order of the Court.


       IT IS SO ORDERED.
                                                       PAUL J.SULLIVAN

                                                    Circuit Court Judge
